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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


In Re:                                                :
                                                      :
         Alessandro B Micozzi                         :
         Kristi M Micozzi                             :
                                                      :      Case No.: 19-13556MDC
                                                      :
Debtor(s)                                             :      Chapter 13


                                      PROPOSED ORDER



         AND NOW, this                 day of                        , 2020, after a hearing which

took place on May 5, 2020, it is hereby Ordered and Decreed that the Motion for Relief from the

Automatic Stay filed by Wilmington Trust National Association (“Movant”) on April 8, 2020 is

Denied subject to the following:

         It is Further Ordered that the following shall occur by or before May 19, 2020:

         1. The Debtors shall pay Movant the sum of $6,000.00, thereby reducing the post-

            petition arrears due and owing by the Debtors from $18,967.82 to $12,967.82;

         2. The Debtors shall file a Modified Plan capitalizing the $12,967.82 into the remaining

            months of the Chapter 13 Plan;

         3. The Debtors shall file an Amended Schedule “I” and/or “J” to demonstrate

            affordability for the increase in their Chapter 13 Plan payments;

         4. The Debtors shall become current with the Chapter 13 Trustee; and

         5. The Debtors shall pay their monthly mortgage payment directly to the Movant

            commencing on June 1, 2020.




                                                      CHIEF JUDGE MAGDELINE D COLEMAN
